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 1                BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION
 2

 3   In re KERYDIN (TAVABOROLE) .        MDL Number 2884
     TOPICAL SOLUTION 5 PERCENT .        Washington, D.C.
 4   PATENT LITIGATION.          .       March 28, 2019
     - - - - - - - - - - - - - -         9:40 a.m.
 5

 6                       TRANSCRIPT OF ORAL ARGUMENT

 7   BEFORE:   HONORABLE SARAH S. VANCE, CHAIR
               United States District Court
 8             Eastern District of Louisiana

 9             HONORABLE LEWIS A. KAPLAN
               United States District Court
10             Southern District of New York

11             HONORABLE R. DAVID PROCTOR
               United States District Court
12             Northern District of Alabama

13             HONORABLE CATHERINE D. PERRY
               United States District Court
14             Eastern District of Missouri

15             HONORABLE KAREN K. CALDWELL
               United States District Court
16             Eastern District of Kentucky

17             HONORABLE NATHANIEL M. GORTON
               United States District Court
18             District of Massachusetts

19

20

21   Official Court Reporter:       SARA A. WICK, RPR, CRR
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                                    Washington, D.C. 20001
23                                  202-354-3284

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 1   APPEARANCES:

 2   For Anacor Pharmaceuticals,
     Inc.:                           DAVID M. HORNIAK, ESQ.
 3                                   Williams & Connolly LLP

 4   For Mylan Pharmaceuticals
     Inc. and Mylan Inc.:            TUNG-ON KONG, ESQ.
 5                                   Wilson Sonsini Goodrich & Rosati

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 1                          P R O C E E D I N G S

 2             JUDGE VANCE:    Next case, Number 2884, in re Kerydin

 3   Topical Solution 5 Percent Patent Litigation.

 4        First up is Mr. Horniak.

 5             MR. HORNIAK:    Thank you, members of the panel.    My

 6   name is David Horniak.    I'm an attorney from Williams &

 7   Connolly, here on behalf of the movant, Anacor Pharmaceuticals.

 8        We submit this is a model case for centralization under the

 9   MDL statute.    These are all Hatch-Waxman actions that involve

10   the same four patents in suit and copies of the same branded

11   drug product.

12             JUDGE VANCE:    With only two districts?

13             MR. HORNIAK:    That's true, Your Honor.

14             JUDGE VANCE:    So why, with only two districts, even

15   with patent cases, do we need to form an MDL?

16             MR. HORNIAK:    Sure.   A couple of reasons, Your Honor.

17   First, there are other benefits to an MDL beyond just

18   coordinating discovery.    For example, the risk of inconsistent

19   rulings on claim construction would be eliminated if all of

20   these cases were before one judge.      It would also avoid forcing

21   two different judges in two different districts to learn the

22   same facts about the patents.

23        In addition --

24             JUDGE VANCE:    No, go ahead.

25             MR. HORNIAK:    In addition, I think the difficulties of
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 1   coordinating discovery across the districts are very real here,

 2   Your Honor.   There are 22 defendants across these cases.           Most

 3   of them are already in Delaware and have --

 4             JUDGE VANCE:    The only ones not in Delaware are two

 5   defendants, right, who are in West Virginia?

 6             MR. HORNIAK:    That's correct.

 7             JUDGE VANCE:    And in West Virginia, there's a motion

 8   to stay pending inter partes review; is that right?

 9             MR. HORNIAK:    That's correct, Your Honor.

10             JUDGE VANCE:    And you support that, and they support

11   that?

12             MR. HORNIAK:    The parties disagree on the terms.

13             JUDGE VANCE:    You want to stay it through appeal, but

14   they want to just stay it -- or they want to stay it through

15   appeal -- one of you wants to stay it through appeal.

16             MR. HORNIAK:    That's correct.

17             JUDGE VANCE:    But you both want a stay.      My point is,

18   if that judge grants the stay, then you've only got one case,

19   because the Delaware court hasn't granted a stay; right?

20             MR. HORNIAK:    That is correct, Your Honor.        The

21   Delaware court actually denied all of the stay motions.

22             JUDGE VANCE:    I understand that.     So my question is,

23   do you have any idea when or how the West Virginia court's going

24   to rule on that stay motion?

25             MR. HORNIAK:    That's a great question.      The West
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 1   Virginia court has set a scheduling conference for less than two

 2   weeks from today and has actually denied a motion to continue

 3   that scheduling conference until it rules on the stay motion.

 4   So I imagine we will discuss that at the scheduling conference,

 5   but all indications are that the West Virginia case is going

 6   forward, as well as the Delaware cases.

 7              JUDGE VANCE:   Okay.

 8              MR. HORNIAK:   Your Honor, in addition, one other thing

 9   I would like to update the panel on is that the Delaware case

10   against Mylan has now been dismissed.

11              JUDGE VANCE:   We knew that.

12              MR. HORNIAK:   Okay.   So there's only one case against

13   Mylan that we are seeking to centralize here.

14              JUDGE VANCE:   What is your argument in response to the

15   argument that you are trying to end run the patent venue

16   statute?

17              MR. HORNIAK:   Sure.   So we are not seeking by this

18   motion to direct where the trial will take place.        This is just

19   about adjudication of pretrial discovery and other matters like

20   claim construction.   And this panel has repeatedly held that

21   when it comes to consolidating cases for MDL purposes for

22   pretrial matters, that statutory venue just is not a

23   consideration.

24              JUDGE VANCE:   All right.    Thank you, sir.

25        Please tell me how to pronounce your name.
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 1              MR. KONG:    T.O. Kong.   I go by my initials, T.O.   Good

 2   morning.

 3              JUDGE VANCE:    Thank you.   Proceed.

 4              MR. KONG:    So to supplement the update provided by

 5   counsel, in West Virginia we now have a discovery plan that has

 6   been submitted by the parties and a Rule 16 conference that will

 7   occur in less than two weeks.     In Delaware, there is no

 8   discovery plan that has been submitted or even discussed, to my

 9   knowledge, and no Rule 16 conference has been scheduled.

10        And that is an important consideration for the panel, we

11   believe, because the underlying nature of this case is that my

12   client, the net effect of this case is that we want to reduce

13   the cost of a prescription medicine.      That is our goal.   We want

14   to do that as quickly as we can.

15              JUDGE PROCTOR:    How about reducing the cost of

16   litigation?   How about reducing the cost of pretrial litigation?

17   Any interest in that?

18              MR. KONG:    Your Honor, I take your question to mean

19   that having one case in West Virginia versus one case in

20   Delaware will be inherently more expensive.

21              JUDGE PROCTOR:    Proceeding on parallel tracks with

22   everybody doing the same thing over and again.

23              MR. KONG:    Well, it's not everyone doing the same

24   thing over and again.     It's parties informally coordinating to

25   make sure that there is a lack of duplicity.       Discovery will be
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 1   coordinated.    Everything will be coordinated --

 2                JUDGE KAPLAN:   I think you meant to say "duplication."

 3                JUDGE VANCE:    What about claim construction?

 4                MR. KONG:   So typically what happens in a circumstance

 5   like this where you have the same patents in competing venues,

 6   if the judges are aware of that and it's coordinated, one judge

 7   goes first.    The other judge has knowledge of that judge's order

 8   when they consider Markman on their own.

 9                JUDGE KAPLAN:   But judges sometimes disagree on things

10   like this.

11                MR. KONG:   I apologize, Your Honor.

12                JUDGE KAPLAN:   Judges can disagree on things like

13   this; right?

14                MR. KONG:   We can disagree --

15                JUDGE KAPLAN:   Judges can disagree on things like

16   claim construction or the law or facts even?

17                MR. KONG:   As can appellate courts, you are absolutely

18   right, Your Honor.

19                JUDGE VANCE:    I'm trying to figure out how you are

20   harmed by centralization.      Delaware is not exactly a hard

21   district to litigate in, and I find it hard to believe it would

22   be really inconvenient for you to litigate in Delaware as

23   opposed to West Virginia.

24                MR. KONG:   We are not arguing inconvenience.       It is

25   true that our witnesses are based in West Virginia.           However, we
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 1   are not going to argue inconvenience here.       What we are arguing

 2   primarily is the just and efficient conduct of this proceeding.

 3        And to my point, our goal is to get a prescription generic

 4   drug on the market as soon as we can so that we can lower the

 5   cost of healthcare.

 6               JUDGE KAPLAN:   I'm missing how it is just and

 7   convenient or just and inexpensive to have two cases involving

 8   exactly the same patent issues going on simultaneously before

 9   two different judges a couple of hundred miles apart.

10        Could you explain that to me?

11               MR. KONG:   I would respond, Your Honor, that Judge

12   Andrews and Judge Keeley are very well familiar with

13   Hatch-Waxman patent litigation cases.      They have done this in

14   the past.   They can coordinate to make sure that the level of

15   duplication is eliminated or at least reduced as much as

16   possible.

17               JUDGE KAPLAN:   They're both going to have to construe

18   the claims; right?

19               MR. KONG:   That is correct, Your Honor.

20               JUDGE KAPLAN:   And assuming they are true to their

21   oaths, they will take their respective independent views of how

22   they ought to be construed; right?

23               MR. KONG:   That's correct.

24               JUDGE KAPLAN:   And they're going to have to learn the

25   subject matter, right, both of them?
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 1             MR. KONG:    They are going to have to do that anyway

 2   when trial comes back to West Virginia, Your Honor, yes.

 3             JUDGE KAPLAN:    If there's ever a trial.

 4             JUDGE VANCE:     You've got 20 defendants in Delaware who

 5   are all, as we say in the south, fat and happy, and you are the

 6   only one who is not happy to be there.      What do they have wrong

 7   about this?    Why -- you have 20 defendants who are happy to

 8   litigate this matter in Delaware.

 9             MR. KONG:    Your Honor, we contested venue in Delaware

10   on the basis of a change in law that occurred recently.

11   Plaintiffs conceded that venue is improper in Delaware by

12   dismissing the case.   We don't want to be in Delaware, among

13   other reasons, because we believe venue is improper there.

14             JUDGE PROCTOR:    Well, every time we put a case

15   together of any significance, venue is improper for someone in

16   the transferee district.    That's why we have an MDL statute.      If

17   there was more relaxed venue rules, we wouldn't need 1407.      We

18   could put all these cases together under a 1404-type situation.

19        That's not the answer to the question.       The question is

20   simply this:   Mr. Horniak says this is a model example of a

21   small case MDL.   Why is he wrong?

22             MR. KONG:    Again, we are trying to afford patients

23   relief of the high cost of a prescription medicine.

24             JUDGE PROCTOR:    That's not an answer to the question.

25             MR. KONG:    And it should not be delayed.
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 1                JUDGE KAPLAN:   I don't mean to be rude, but that

 2   talking point has been heard quite a few times, and it's not got

 3   any traction with me.

 4                JUDGE VANCE:    It seems like it's a lot faster to do

 5   something once than to do it twice.      So to say that your way of

 6   doing things is going to speed up the process, it just taxes

 7   credulity to me.

 8           But anyway, we have your arguments, sir.     Thank you so

 9   much.

10                MR. KONG:   Thank you.

11           (Argument concluded at 9:49 a.m.)

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 1                 CERTIFICATE OF OFFICIAL COURT REPORTER

 2

 3             I, Sara A. Wick, certify that the foregoing is a

 4   correct transcript from the record of proceedings in the

 5   above-entitled matter.

 6

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 8

 9   /s/ Sara A. Wick                          April 10, 2019

10   SIGNATURE OF COURT REPORTER               DATE

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